

People v Santiago (2024 NY Slip Op 50015(U))



[*1]


People v Santiago (Alexander)


2024 NY Slip Op 50015(U)


Decided on January 11, 2024


Appellate Term, First Department


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on January 11, 2024
SUPREME COURT, APPELLATE TERM, FIRST DEPARTMENT

PRESENT: Hagler, P.J., Brigantti, Tisch, JJ.



18-187

The People of the State of New York, Respondent, 
againstAlexander Santiago, Defendant-Appellant.




Defendant appeals from a judgment of the Criminal Court of the City of New York, Bronx County (Julio Rodriguez III, J.), rendered October 3, 2017, convicting him, upon his plea of guilty, of reckless driving, and sentencing him to a fine of $200.




Per Curiam.
Judgment of conviction (Julio Rodriguez III, J.), rendered October 3, 2017, affirmed.
Defendant made a valid waiver of his right to appeal (see People v Thomas, 34 NY3d 545, 558 [2019], cert denied 589 US ___, 140 S Ct 2634 [2020]). The combination of the court's oral colloquy with defendant and the detailed written waiver that he signed after consultation with counsel satisfied the requirements of a valid waiver. This waiver forecloses review of defendant's excessive sentence claim (see People v Jackson, 138 AD3d 403 [2016], lv denied 27 NY3d 1152 [2016]). Notwithstanding the waiver, we perceive no basis for reducing defendant's sentence.
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur
Decision Date: January 11, 2024









